« Case 2:14-cv-00911-JRG Document 593-1 Filed 09/16/16 Page 1 of 6 PagelD #: 23204

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS
MARSHALL DIVISION

CORE WIRELESS LICENSING S.A.R.L.,

Civil Action No, 2:14-cv-00911-JRG-RSP
LEAD CASE

Plaintiff,
v.
LG ELECTRONICS, INC. ET AL., Civil Action No. 2:14-cv-00912-JRG-RSP

Defendant.

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VERDICT FORM

In answering these questions, you are to follow all of the instructions I have given you in
the Court’s Final Instructions to the Jury. Your answers to each question must be unanimous.

As used herein, “Core Wireless” means Core Wireless Licensing S.a.r.1. and “LG” means
both “LG Electronics, Inc.” and “LG Electronics Mobilecomm U.S.A., Inc.” As used herein,

“°536 Patent” means U.S. Patent No. 6,633,536; and “’850 Patent” means U.S. Patent No.

7,804,850.

 
‘ Case 2:14-cv-00911-JRG Document 593-1 Filed 09/16/16 Page 2 of 6 PagelD #: 23205

QUESTION 1:

Did Core Wireless prove by a preponderance of the evidence that LG infringes the
following claims of the following patents?

Answer “Yes” or “No” for each Claim.
°536 Patent

Caimig _Yes
°850 Patent

Claim 21 Ves

If you answered “No” to both of the above questions, you should not answer any further
questions, and in that case, your foreperson should date and sign the last page of this
verdict form, and you should notify the Court Security Officer that you have reached a
verdict.

 
' Case 2:14-cv-00911-JRG Document 593-1 Filed 09/16/16 Page 3 of 6 PagelD #: 23206

ANSWER THIS NEXT QUESTION ONLY AS TO THOSE CLAIMS YOU -
ANSWERED “YES” TO IN QUESTION 1 ABOVE—OTHERWISE DO NOT ANSWER THIS
QUESTION.

QUESTION 2:

Did LG prove by clear and convincing evidence that any of the asserted claims of the
following patents are invalid?

If you find the claims invalid, answer “Yes,” otherwise, answer “No.”
536 Patent

Claimi9 NO

°850 Patent
Chim21 NO

If you answered “Yes” to both of the above questions, you should not answer any further
questions, and in that case, your foreperson should date and sign the last page of this
verdict form, and you should notify the Court Security Officer that you have reached a
verdict.

 
Case 2:14-cv-00911-JRG Document 593-1 Filed 09/16/16 Page 4 of 6 PagelD #: 23207

ANSWER THIS NEXT QUESTION ONLY AS TO THOSE CLAIMS YoU
ANSWERED “YES” TO IN QUESTION 1 ABOVE—OTHERWISE DO NOT ANSWER THIS
QUESTION.

QUESTION 3:

Did Core Wireless prove by a preponderance of the evidence that any of the asserted
claims of the following patents are willfully infringed by LG?

If you find the claims were willfully infringed, answer “Yes,” otherwise, answer
“No.”

°536 Patent
Claim 19 VV aS

°850 Patent

Claim 21 Ve5

 
' Case 2:14-cv-00911-JRG Document 593-1 Filed 09/16/16 Page 5 of 6 PagelD #: 23208

ANSWER QUESTION 4 ONLY IF YOU HAVE FOUND ONE OR MORE OF THE
ASSERTED CLAIMS OF THE CORE WIRELESS PATENTS TO BE INFRINGED AND NOT

INVALID.
QUESTION 4:

(A)For the claims you have found LG infringed, what sum of money do you find by a
preponderance of the evidence would reasonably compensate Core Wireless?

s QA Millian

(B) Is this monetary award a lump sum or a running royalty?
Check one of the following:
Lump sum:
-OR-

a

Running royalty: Lx

 
* Case 2:14-cv-00911-JRG Document 593-1 Filed 09/16/16 Page 6 of 6 PagelID #: 23209

You have now reached the end of the verdict form and should review it to ensure it
accurately reflects your unanimous determinations. The jury foreperson should then sign
and date the verdict form in the spaces below and notify the Court Security Officer that
you have reached a verdict. The jury foreperson should retain possession of the verdict
form and bring it when the jury is brought back into the courtroom.

Signed this /& day of September, 2016.

JuryKoreperson

 
